      Case 7:16-cv-00141-WLS               Document 2          Filed 08/18/16         Page 1 of 2



AO 85 (Local Rev 1/14) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge

PLAINTIFF: DO NOT RETURN TO THE COURT! SIGN AND MAIL TO DEFENDANT OR
DEFENDANT'S ATTORNEY IF YOU CONSENT TO PROCEED BEFORE A MAGISTRATE
JUDGE.


                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION


KENNETH JOHNSON, et al.
              Plaintiff
v.                                                       Case No. 7:16−cv−00141−WLS

BRANDEN BELL, et al.
              Defendant.

                  NOTICE OF AVAILABILITY OF A UNITED STATES
                  MAGISTRATE JUDGE TO EXERCISE JURISDICTION

         In accordance with the provisions of 28 U.S.C. § 636(c) and Fed.R.Civ.P. 73, you are
notified that a United States magistrate judge of this district court is available to conduct any or all
proceedings in this case including a jury or nonjury trial, and to order the entry of a final
judgment. Exercise of this jurisdiction by a magistrate judge is, however, permitted only if all
parties voluntarily consent.

       You may, without adverse substantive consequences, withhold your consent, but this will
prevent the court's jurisdiction from being exercised by a magistrate judge. If any party withholds
consent, the identity of the parties consenting or withholding consent will not be communicated to
any magistrate judge or to the district judge to whom the case has been assigned.

        An appeal from a judgment entered by a magistrate judge shall be taken directly to the
United States Court of Appeals for this judicial circuit in the same manner as an appeal from any
other judgment of this district court.

                        CONSENT TO EXERCISE OF JURISDICTION
                        BY A UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. § 636(c) and Fed.R.Civ.P. 73, the parties in
this case consent to have a United States magistrate judge conduct any and all proceedings in this
case, including the trial, order the entry of a final judgment, and conduct all post−judgment
proceedings.

Party Represented                  Signatures*                                 Date

_____________________             __________________________                 ____________________

_____________________             __________________________                 ____________________

_____________________             __________________________                 ____________________

_____________________             __________________________                 ____________________

* Signatures may be electronically affixed (i.e. s/ Judith Attorney) and, with consent so stated
after the signature, counsel may electronically sign for other counsel (i.e. s/ John Attorney, by
consent).
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                NOTICE OF RIGHT TO CONSENT TO DISPOSITION OF
               CIVIL CASE BY A UNITED STATES MAGISTRATE JUDGE

        Under 28 U.S.C. § 636(c) (1), full−time magistrate judges are authorized to exercise civil
jurisdiction, including trial of the case and entry of final judgment, upon consent of the parties.
 The parties are, of course, entirely free to withhold such consent without any adverse
consequences.

       Upon the filing of a complaint or notice of removal in a civil case, the clerk will provide the
plaintiff or plaintiff's counsel or the removing defendant or removing defendant's counsel a
notice/consent form informing the parties that they may consent to have a magistrate judge
conduct all proceedings in the case and order the entry of final judgment. The parties or their
attorneys must sign the form if they consent to the exercise of dispositive authority by the
magistrate judge. If the plaintiff elects to consent, plaintiff shall sign the form and promptly send
it to defendants's attorney or to the defendant if unrepresented. If defendant(s) also consents and
signs the form, defendant(s) shall promptly file the form with the court. Should any party elect
not to consent, the form should not be returned.

       A party's decision to consent, or not to consent, to the disposition of the case before a
United States magistrate judge is entirely voluntary, and no judge of this court will be informed
of a party's decision to withhold consent. By returning the consent form only in cases where all
parties consent, the court will not be aware of which party withheld consent. Where the consent
form is not returned to the court during the early stages of the case, either the district court judge
or magistrate judge may again advise the parties of the availability of the magistrate judge.

       Please note that in the event of consent, the parties may appeal a final judgment from the
magistrate directly to the court of appeals in the same manner as an appeal from any other
judgment of the district court. A case on consent will continue to be governed by the Federal
Rules of Civil Procedure and the Local Rules of this Court.




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JUDGE.
